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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X        Docket No.:
JAMAL CAMPBELL,                                                              Date Purchased:

                                   Plaintiff,
                                                                             SUMMONS

                 -against-                                                   Plaintiff designates
                                                                             EASTERN
                                                                             DISTRICT OF NEW YORK
THE CITY OF NEW YORK, THE NEW YORK CITY                                      as the place of trial
POLICE DEPARTMENT OFFICER KIERSTEN
CHAMBERS JOHN DOE OFFICERS 1-2,                                              The basis of venue is
                                                                             Plaintiff Residence
                                    Defendants.
--------------------------------------------------------------------X

To the above-named Defendant:

        YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve a
copy of your answer, or, if the complaint is not served with this summons, to serve a notice of
appearance, on the Plaintiffs' Attorney within twenty (20) days after service of this summons,
exclusive of the day of service (or within 30 days after the service is complete if this summons is
not personally delivered to you within the State of New York); and in case of your failure to appear
or answer, judgment will be taken against you by default for the relief demanded in the complaint.

JURY TRIAL DEMANDED

DATED:           New York, New York
                 December 6, 2021
                                                              Yours, etc.,

                                                              __Kurt Robertson_______________________
                                                              Kurt Robertson, Esq.
                                                              Robertson & Associates
                                                              Attorneys for Plaintiff
                                                              200 Vesey Street, 24th Floor
                                                              New York, NY 10281
                                                              (929) 438-5878




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TO:

Corporation Counsel
The City of New York
100 Church Street
New York, NY 10005




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UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------------------X
JAMAL CAMPBELL,
                                                                        COMPLAINT AND JURY
                                                                        DEMAND
                                   Plaintiff,
                                                                        DOCKET NUMBER

                 -against-


THE CITY OF NEW YORK, THE NEW YORK CITY
POLICE DEPARTMENT OFFICER KIERSTEN
CHAMBERS JOHN DOE OFFICERS 1-2,

                                    Defendants
--------------------------------------------------------------------X

        Plaintiff, JAMAL CAMPBELL, by his Attorneys ROBERTSON & ASSOCIATES, as and
for his complaint, set forth upon information and belief, and at all times hereinafter that:
                                         PRELIMINARY STATEMENT

   1. This is a civil rights action in which plaintiff seeks relief for the violation of his rights
secured by 42 USC §1983, §1988, the Fourth and Fourteenth Amendments to the United States
Constitution of the United States of America.

    2. Plaintiff also brings this action pursuant to New York State Law.

                                                   JURISDICTION

   3. This is a civil right action in which plaintiff seeks relief for the violation of his rights
secured by 42 USC §1983, §1988, the Fourth and Fourteenth Amendments to the United States
Constitution.

    4. Plaintiff also brings this action pursuant to New York State Law.

   5. This Court has jurisdiction over each of the state law claims as well as the federal claims
pursuant to concurrent jurisdiction.

    6. The claims arise from an October 21, 2020 incident in which Officers of the New York
City Police Department (“NYPD”), acting under color of state law, intentionally and willfully
subjected plaintiff to, inter alia, false arrest and false imprisonment.

    7. Plaintiff seeks monetary damages (special, compensatory, and punitive) against

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Defendants, as well as an award of costs and attorney's fees, and such other and further relief as
the Court deems just and proper.

                                         JURISDICTION

   8. This action is brought pursuant to 28 USC §1331, 42 USC §1983, and the Fourth and
Fourteenth Amendments to the United States Constitution.

   9. The amount in controversy exceeds $75,000,00 excluding interest and cost.
                                              VENUE

    10. Venue is laid within the United States District Court for the Eastern District of New York
in that defendant City of New York is located within, and a substantial part of the events giving
rise to the claim occurred within the boundaries of the Eastern District of New York.

                                            PARTIES
    11. Plaintiff JAMAL CAMPBELL is a legal resident of United States and at all times here
relevant resided in Kings County, City and State of New York.

     12. The City of New York (or “The City”) is a municipal corporation organized under the
Laws of the State of New York. At all times relevant hereto, Defendant The City, acting through
the New York Police Department (or NYPD), was responsible for the policy, practice, supervision,
implementation, and conduct of all NYPD matters and was responsible for the appointment,
training, supervision, discipline and retention and conduct of all NYPD personnel. In addition, at
all times here relevant, Defendant, The City, was responsible for enforcing the rules of the NYPD,
and for ensuring that the NYPD personnel obey the laws of the United States and the State of New
York.

    13. Officer Kierstan Chambers was, at all times here relevant, a police officer of the NYPD,
and as such, was acting in the capacity of an agent, servant and employee of the City of New York.
On information and belief, at all times relevant hereto, officer Chambers was plaintiff’s “ arresting
officer” and was under the command of the 79th Precinct of the NYPD. Defendant Chambers is
sued in her individual capacity.

    14. All other individual defendants ( “the officers”), including John Doe #1-2, individuals
whose names are currently unknown to plaintiff, are employees of the NYPD, and are sued in their
individual capacities.

    15. At all times here mentioned defendants were acting under color of State law, to wit,
under color pf the statues, ordinances, regulations, policies, customs and usages of the City and
State of New York.




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                                     NOTICE OF CLAIM


    16. Within 90 days of the incident, plaintiff filed written Notice of Claim with the New York
City Office of the Comptroller. Over 30 days have elapsed since the filing of that notice, and this
matter has not been settled or otherwise disposed of.

    17. This action was commended within one year and ninety days of October 21, 2021, the
date of the incident herein.

                                          THE FACTS

   18. At all times hereinafter mentioned, on or about August 7, 2020, Plaintiff rented a 2017
Ford Fusion, NY License Plate 638390R GLYDE rental car.

   19. The agreement was renewed on October 20, 2020
    20. On or about October 21, 2020, Plaintiff was operating the aforementioned vehicle at the
Intersection of Nostrand Avenue and Madison Avenue, Brooklyn, NY.

    21. Plaintiff was stopped by NYPD Officer Chambers, identified via shield number 26702
of 079 Command.

   22. Officer Chambers effectuated an arrest of Plaintiff.
   23. Plaintiff was charged with violating VTL §§ 401 (1)(a), 402(1) and PL 170.20.
    24. Plaintiff was charged operating and unregistered vehicle, improper display of number
Plates and criminal possession of a forged instrument in the third degree.

   25. Plaintiff was further accused of operating the vehicle with license plates that expired on
September 3, 2020, prior to the renewal of the rental agreement on October 20, 2020.

   26. Despite advising officer Chambers and John Doe Officers 1-2 that the aforementioned
Vehicle was rented, and in fact having officer Chambers speak with the rental company, Plaintiff
was remanded to police custody.

    27. As a result of Defendant’s above-described actions, Plaintiff has suffered and continues
suffer harm and damage including but not limited to denial of his individual and constitutionally
guaranteed liberties, mental distress, embarrassment and humiliation, harm to his reputation, loss
of liberty, and other damages in an amount to be determined.




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 FIRST CLAIM RELIEF FALSE ARREST AND EXCESSIVE FORCE UNDER 42 U.S.C
                                     §1983
                      (Against the individual defendants)

    28. Plaintiff, JAMAL CAMPBELL, repeats, reiterates, and realleges each and every
allegation set forth above with the same force and effect as if fully set forth herein and length.

    29. As a result of the defendant's conduct, plaintiff was subjected to illegal, improper and
false arrest, excessive force, taken into custody, and caused to be falsely imprisoned, detained,
injured, and confined without any probable cause, privilege, or consent.

    30. As a result of the foregoing, plaintiff’s liberty was restricted and he was put in fear for his
safety, he was injured and endured pain, without probable cause.

 SECOND CLAIM FOR RELIEF MALICIOUS PROSECUTION UNDER 42 U.S.C §1983
                                 (against the individual defendants)
   31. Plaintiff, JAMAL CAMPBELL, repeats, reiterates, and realleges each and every
Allegation set forth above with the same force and effect as if fully set forth herein and length.

   32. Defendants misrepresented and falsified evidence before the Kings County District
Attorney.

   33. Defendants did not make a complete and full statement of facts to the District Attorney.
   34. Defendants withheld exculpatory evidence from the District Attorney.
   35. Defendants were directly and actively involved in the initiation of criminal proceedings
against plaintiff.

   36. Defendants lacked probable cause to initiate criminal proceedings against Plaintiff.
   37. Defendants acted with malice in initiating criminal proceedings against Plaintiff.
   38. Defendants were directly and actively involved in the continuation of criminal
proceedings against Plaintiff.

   39. Defendants lacked probable cause to continue criminal proceedings against Plaintiff.
   40. Defendants misrepresented and falsified evidence throughout all phases of the criminal
proceedings.

    41. Notwithstanding the conduct of Defendants, the criminal proceedings were terminated in
Plaintiff's favor when all charges were dismissed and the record sealed.




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                 THIRD CAUSE OF ACTION FOR MUCIPAL LIABILITY
                       PURSUANT TO 42 U.S.C SECTION 1983

    42. Plaintiff, repeats, reiterates, and realleges each and every allegation set forth above with
the same force and effect as if fully set forth herein and at length.

    43. The NYPD Defendants arrested, searched, and incarcerated Plaintiff, JAMAL
CAMPBELL, in the absence of any evidence of criminal wrongdoing, notwithstanding their
knowledge that said search, arrest and incarceration would jeopardize plaintiff’s liberty, well-
being, safety, and violate his constitutional rights.

    44. The acts complained of were carried out by the afore-mentioned individual Defendants in
their capacities as police officers and officials, with all of the actual and/or apparent authority
attendant thereto.

    45. The acts complained of were carried out by the aforementioned individual Defendants
in their capacities as police officers and officials pursuant to the customs, policies, usages,
practices, procedures, all under the supervision of ranking officers of said department.

   46. Those customs, policies, patterns, and practices include, but are not limited to:
           I.    Requiring officers to make a predetermined number of arrest and/or issue a
                 predetermined number of summonses within a predetermined time frame;

          II.    Requiring precincts to record a predetermined number of arrest and/or issue a
                 predetermined number of summonses within a predetermined time frame;

         III.    Failing to take any measures to correct unconstitutional behavior when brought
                 to the attention of supervisors and/or policy makers;

         IV.     Failing to properly train police officers in the requirements of the United States
                 Constitution;

    47. The aforesaid customs, policies, usages, practices, procedures and rules of THE CITY
OF NEW YORK and the NEW YORK CITY POLICE DEPARTMENT directly cause, inter
alia, the following unconstitutional practices:

          I.    Arresting individuals regardless of probable cause in order to inflate precinct-
                wide statistics;

         II.    Arresting individuals regardless of probable cause in order to inflate precinct-
                wide statistics;

        III.    Falsifying evidence and testimony to support those arrests;



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        IV.     Falsifying evidence and testimony to cover up police misconduct;

    48. The foregoing customs, policies, usages, practices, procedures and rules of THE CITY
OF NEW YORK and THE NEW YORK CITY POLICE DEPARTMENT constitute a deliberate
Indifference to the safety, well- being and constitutional rights of Plaintiff JAMAL CAMPBELL.

   49. The foregoing customs, policies, usages, practices, procedures and rules of THE CITY
OF NEW YORK and THE NEW YORK POLICE DEPARTMENT were the direct and
proximate cause of the constitutional violations suffered by plaintiff as alleged herein.

        WHEREFORE, Plaintiff demands judgment against Defendant on each and every and all causes

of action, and damages in a sum that exceeds the jurisdictional limits of all lower courts which would

otherwise have jurisdiction of this matter and is within this Court’s jurisdiction together with the costs,

disbursements, attorney’s fees and interest on all of the above, together with such other and further relief

that this Honorable Court deems just, proper and equitable.

Dated: New York, New York
       December 6, 2021
                                                         Kurt Robertson
                                                 Kurt Robertson, Esq.
                                                 ROBERTSON & ASSOCIATES
                                                 Attorneys for Plaintiff
                                                 200 Vesey Street, 24th Floor
                                                 New York, NY 10281
                                                 (929) 438-587




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                                       ATTORNEY VERIFICATION

         Kurt Robertson, an attorney at law, duly admitted to practice in the Courts of the State of New

York, affirms under the penalties of perjury that:

        I am a principal of Robertson & Associates, the attorneys for the plaintiff in the above-entitled

action. That he has read the foregoing VERIFIED COMPLAINT and knows the contents thereof, and upon

information and belief, deponent believes the matters alleged therein to be true.

        The reason this Verification is made by deponent and not by the Plaintiff is that the Plaintiff herein

resides in a county other than the one in which the Plaintiff's attorneys maintain their office.

        The source of deponent's information and the grounds of his belief are communication, papers,

reports and investigation contained in the file.




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 Docket No.:

        UNITED STATES DISTRICT COURT FOR THE EASTERN
        DISTRICT OF NEW YORK
        ==============================================
        JAMAL CAMPBALL
                             Plaintiff(s),
        -against-

        THE CITY OF NEW YORK, THE NEW YORK CITY
        POLICE DEPARTMENT OFFICER KIERSTEN
        CHAMBERS JOHN DOE OFFICERS 1-2,

                                         Defendant(s).
        =============================================
        SUMMONS AND VERIFIED COMPLAINT
        =============================================
        ROBERTSON & ASSOCIATES
          Attorneys for : Plaintiff(s)
        Office and Post Office Address, Telephone
        200 Vesey Street, 24th Floor,
        New York, NY 10281
        (929) 438-5878
        ==============================================
        To
        Attorney(s) for
        ==============================================
        Service of a copy of the within
        is hereby admitted. Dated,
        ________________________________
        Attorney(s) for
        ==============================================
        PLEASE TAKE NOTICE:
        • NOTICE OF ENTRY
        that the within is a (certified) true copy of a
        duly entered in the office of the clerk of the within name court on
        19
        • NOTICE OF SETTLEMENT
        that an order                                          of which the within is a true copy
        will be presented for settlement to the HON.                         One of the judges of
        the
        within named Court, at
        on                                       at            M.
        Dated
                        Yours, etc.
              ROBERTSON & ASSOCIATES
        ===============================================

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